Case 2:20-cv-07961-MWF-JEM Document 13 Filed 10/02/20 Page 1 of 2 Page ID #:111

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES – GENERAL

  Case No.        CV 20-7961 MWF (JEMx)                                    Date: October 02, 2020
  Title       Kimberly Robinson v. BMW of North America, LLC, et al..


  Present: The Honorable:      MICHAEL W. FITZGERALD, United States District Judge
                     Rita Sanchez                                        Not Reported
                     Deputy Clerk                                  Court Reporter / Recorder

          Attorneys Present for Plaintiffs:                 Attorneys Present for Defendants:
                   Not Present                                        Not Present

  Proceedings: (IN CHAMBERS) ORDER TO SHOW CAUSE

         A review of the docket in this action reflects that the Notice of Removal was
  filed on August 31, 2020. (Docket No. 1). Counsel for removing Defendant
  BMW of North America, LLC (“BMW”) indicates that BMW was served with the
  state court complaint on March 3, 2020, and that this case became removable on
  August 14, 2020 when Plaintiff dismissed Defendant Rusnak BMW. Pursuant to
  Federal Rules of Civil Procedure, Rule 81(c)(2)(C), Defendant BMW’s response to
  the Complaint was due September 8, 2020.

        The Court ORDERS Plaintiff to show cause why this action should not be
  dismissed for lack of prosecution. In response to this Order to Show Cause, the
  Court will accept the following no later than OCTOBER 16, 2020.

           BY DEFENDANT: RESPONSE TO THE COMPLAINT (“Response”)
            by Defendant BMW.
                      OR
           BY PLAINTIFF: APPLICATION FOR CLERK TO ENTER DEFAULT
            as to Defendant BMW.

        No oral argument on this matter will be heard unless otherwise ordered by
  the Court. See Fed. R. Civ. P. 78; Local Rule 7-15. The Order will stand
  submitted upon the filing of the response to the Order to Show Cause. Failure to



  CV-90 (03/15)                          Civil Minutes – General                               Page 1 of 2
Case 2:20-cv-07961-MWF-JEM Document 13 Filed 10/02/20 Page 2 of 2 Page ID #:112

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  respond to the Order to Show Cause by OCTOBER 16, 2020 will result in the
  dismissal of this action.

          IT IS SO ORDERED.

                                                               Initials of Preparer: RS/sjm




  CV-90 (03/15)                      Civil Minutes – General                     Page 2 of 2
